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      Case
         18-2253
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                                           OFFICE OF THE CLERK

PATRICIA S. DODSZUWEIT           UNITED STATES COURT OF APPEALS                    TELEPHONE
                                      21400 UNITED STATES COURTHOUSE              215-597-2995
          CLERK                              601 MARKET STREET
                                         PHILADELPHIA, PA 19106-1790
                                     Website: www.ca3.uscourts.gov

                                              June 7, 2018




George W. Cochran Jr., Esq.
1385 Russell Drive
Streetsboro, OH 44241

RE: In Re: NFL Players' Concussion, et al
Case Number: 18-2253
District Court Case Number: 2-12-md-02323

PACER account holders are required to promptly inform the PACER Service
Center of any contact information changes. In order to not delay providing
notice to attorneys or pro se public filers, your information, including address,
phone number and/or email address, may have been updated in the Third
Circuit database. Changes at the local level will not be reflected at PACER.
Public filers are encouraged to review their information on file with PACER and
update if necessary.

To All Parties:

Enclosed is case opening information regarding the above-captioned appeal filed by Curtis L.
Anderson, docketed at No.18-2253. All inquiries should be directed to your Case Manager in
writing or by calling the Clerk's Office at 215-597-2995. This Court's rules, forms, and case
information are available on our website at http://www.ca3.uscourts.gov.

On December 1, 2009, the Federal Rules of Appellate and Civil Procedure were amended
modifying deadlines and calculation of time. In particular those motions which will toll the
time for filing a notice of appeal under Fed.R.App.P. 4(a)(4), other than a motion for
attorney's fees under Fed.R.Civ.P. 54, will be considered timely if filed no later than 28
days after the entry of judgment. Should a party file one of the motions listed in
Fed.R.App.P 4(a)(4) after a notice of appeal has been filed, that party must immediately
inform the Clerk of the Court of Appeals in writing of the date and type of motion that was
filed. The case in the court of appeals will not be stayed absent such notification.
   Case:
      Case
         18-2253
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                              Document 10074Page:
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                                                        Date Filed:
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Payment of fees is required upon filing a Notice of Appeal from a District Court decision unless
you are exempt by order of the Court. All fees are to be paid to the District Court. The following
fees are currently unpaid:

$5.00 District Court filing fee
$500.00 Court of Appeals docket fee

Both fees must be paid within fourteen (14) days of the date of this letter.

Counsel for Appellant

As counsel for Appellant(s), you must file:
1. Application for Admission (if applicable)
2. Appearance Form
3. Civil Information Statement
4. Disclosure Statement (except governmental entities)
5. Concise Summary of the Case
6. Transcript Purchase Order Form.
These forms must be filed within fourteen (14) days of the date of this letter.

Failure of Appellant(s) to comply with any of these requirements by the deadline will result
in the DISMISSAL of the case without further notice. 3rd Circuit LAR Misc. 107.2.

Counsel for Appellee

As counsel for Appellee(s), you must file:
1. Application for Admission (if applicable)
2. Appearance Form
3. Disclosure Statement (except governmental entities)
These forms must be filed within fourteen (14) days of the date of this letter.

Parties who do not intend to participate in the appeal must notify the Court in writing. This
notice must be served on all parties.

Attached is a copy of the full caption in this matter as it is titled in the district court. Please
review the caption carefully and promptly advise this office in writing of any discrepancies.

Very truly yours,

s/Patricia S. Dodszuweit,
Clerk

By: Stephanie
Case Manager
267-299-4926
cc: All Counsel of Record
